        Case 4:17-cv-03621 Document 74 Filed on 07/12/22 in TXSD Page 1 of 7




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    OBEL CRUZ-GARCIA,
         Petitioner,                                  Case No. 4:17-CV-03621

       v.
                                                      Chief District Judge Lee H. Rosenthal
    BOBBY LUMPKIN, Director,
    Texas Department of
    Criminal Justice,                                             CAPITAL CASE
    Correctional Institutions Division,
           Respondent.



                  OPPOSED MOTION FOR EVIDENTIARY HEARING



            Pursuant to Rule 8 of the Rules Governing Section 2254 Cases, Obel Cruz-Garcia

respectfully requests an evidentiary hearing to prove the facts alleged in support of his claim that

juror misconduct denied him a fair and impartial trial, in violation of the Sixth, Eighth, and

Fourteenth Amendments. See ECF No. 73 at 23–32. Specifically, Mr. Cruz-Garcia asks that this

Court grant an evidentiary hearing on Claim One (A), that the jury was exposed to an external

influence when the jury foreperson read Bible passages to the jury during their penalty phase

deliberations. 1 Id. at 23–32.



1
  This Court can reach the merits of Claim One (A) because the state court failed to adjudicate the
merits of Mr. Cruz-Garcia’s federal constitutional claim and this Court can therefore review this
claim de novo. See ECF No. 73 at 29–32. In the alternative, this Court can reach the merits of Claim
One (A) because the state court decision was contrary to clearly established federal law and 28 U.S.C.
§ 2254(d) is therefore satisfied. Id. And, should this Court find that Claim One (A) meets § 2254(d),

                                                  1
       Case 4:17-cv-03621 Document 74 Filed on 07/12/22 in TXSD Page 2 of 7




        As set out in Claim One (A), ECF No. 73 at 23–28, shortly after trial and immediately upon

learning of the external influence on the jury, Mr. Cruz-Garcia moved for a new trial. 3 CR 538–43,

544–46. In support of his motion, Mr. Cruz-Garcia provided a recorded interview of the jury

foreperman, Matthew Clinger, in which the foreman stated that the had read from the Bible to the

jury during their deliberations on punishment and that his reading of Scripture had influenced at

least one juror. 2 Id. at 614–48. Mr. Cruz-Garcia also provided an affidavit from another juror, Angela

Bowman, who similarly recalled that the foreman had read from the Bible to the jury during their

deliberations on punishment and that at least one juror had thus been influenced. Id. at 555–6,

610–11. Mr. Cruz-Garcia also provided an affidavit from trial counsel Mario Madrid describing juror

Bowman reaching out to him about the juror Clinger’s conduct, as well as an affidavit from defense

investigator J.J. Gradoni reflecting his interview of juror Clinger. Id. at 606–07, 608–09. Mr. Cruz-

Garcia expressly requested that the trial court hear testimony from the jurors. Id. at 580–82; 29 RR

4. 3

        In response to Mr. Cruz-Garcia’s motion and evidence, the State argued that the trial court

was prohibited from considering any of the evidence proffered by Mr. Cruz-Garcia concerning these

allegations of external influence. See 29 RR 15–16. Nevertheless, the State also provided its own

affidavits, including an affidavit from the foreman in which he contradicted his prior statements. 3



this Court may consider any new evidence adduced at a hearing to prove the merits of this claim.
Smith v. Cain, 708 F.3d 628, 634–35 (5th Cir. 2013).
2
 Following this interview by a defense investigator, J.J. Gradoni, Mr. Clinger declined to sign an
affidavit based on the advice of his workplace counsel. 3 CR 612–13. Mr. Gradoni provided an
affidavit reflecting his interview of Mr. Clinger and Mr. Clinger’s statements. Id. at 608–09, 612–13.
3
  Mr. Cruz-Garcia also urged the trial court to hear testimony on these allegations at a status
conference on his Motion for New Trial. See 29 RR 3. There is, however, no Reporter’s Record of
that hearing.


                                                  2
      Case 4:17-cv-03621 Document 74 Filed on 07/12/22 in TXSD Page 3 of 7




CR 599–601. In his affidavit, and contrary to his recorded statements, juror Clinger represented

that he had taken his Bible out during deliberations and laid it out open on the table, but that he

had not read directly from it. Id. The State also provided an affidavit from another juror, Casey

Guillotte, in which she represented that juror Clinger had read from the Bible but only to himself

and after the jury’s deliberations. Id. at 597–98.

        Mr. Cruz-Garcia re-urged his request that the trial court hear witness testimony. 29 RR 3.

The trial court denied Mr. Cruz-Garcia’s request for a hearing, admitted the affidavits from Mr.

Cruz-Garcia and the State, but excluded the recorded interview of Mr. Clinger. Id. at 26–28. The

trial court, however, expressly declined to make any findings of fact as to Mr. Cruz-Garcia’s

allegations of external influence, nor as to the affidavits it admitted. Id. at 28. It denied Mr. Cruz-

Garcia’s Motion for New Trial. Id. On direct appeal, the Texas Court of Criminal Appeals (“CCA”),

held that the trial court erred in admitting these affidavits because the Bible was not an external

influence as a matter of law, such that the jurors’ affidavits were inadmissible under the Texas Rules

of Evidence. Cruz-Garcia v. State, No. AP-77,0625, 2015 WL 6528727, at *29–30 (Tex. Crim. App.

Oct. 28, 2015).

        An evidentiary hearing on this claim is available and appropriate for the following reasons.

        First, this Court does not have before it “sufficient facts to make an informed decision

regarding the merits of [this] claim.” McDonald v. Johnson, 139 F.3d 1056, 1060 (5th Cir. 1998). In

other words, the state court record is inadequate and this Court cannot resolve the merits of Claim

One (A) based on that record. First, the CCA rejected any factfinding done by the lower court and

there is therefore no state court factfinding on this claim. Second, the evidence presented to the trial

court was contradictory on several facts; whereas juror Clinger represented to the State that he had




                                                     3
      Case 4:17-cv-03621 Document 74 Filed on 07/12/22 in TXSD Page 4 of 7




only laid out his Bible on the table during deliberations, juror Guillotte represented that juror

Clinger had read from the Bible but only after deliberations. ECF No. 73 at 51–52. And both of

these statements are contradicted by juror Bowman’s affidavit and by juror Clinger’s prior recorded

statement, in which he made clear that he read out loud from the Bible to the jury, at a point in

their deliberations when several jurors remained undecided, and that at least one juror was thus

influenced. 3 CR 634–36. Neither the trial court nor the CCA, however, made any findings of fact.

        Second, Mr. Cruz-Garcia is not at fault for the deficient state court record and 28 U.S.C.

2254(e)(2) therefore does not preclude Mr. Cruz-Garcia’s request for an evidentiary hearing on

Claim One (A). See Williams v. Taylor, 529 U.S. 420, 432 (2000) (“Under the opening clause of §

2254(e)(2), a failure to develop the factual basis of a claim is not established unless there is a lack of

diligence, or some greater fault, attributable to the prisoner or the prisoner’s counsel.”). As set out

above and in his Second Amended Petition, see ECF No. 73 at 23–28, Mr. Cruz-Garcia diligently

sought to develop the facts underpinning his Motion for New Trial arising from the jury’s exposure

to an external influence. In the trial court, Mr. Cruz-Garcia repeatedly requested that the trial court

hear live testimony to adjudicate the credibility and facts relevant to the alleged jury misconduct. Id.

The trial court, however, refused to conduct any fact-finding and the CCA ruled that the trial court

had erred in admitting any affidavits at all. Id. Hence, because Mr. Cruz-Garcia is not at fault for the

failure to develop the factual record on Claim One (A) in state court, § 2254(e)(2) does not bar his

request for an evidentiary hearing.

        Third, an evidentiary hearing on Claim One (A) is appropriate because “such a hearing could

enable [Mr. Cruz-Garcia] to prove the petitioner’s factual allegations, which if true, would entitle the

applicant to federal habeas relief.” Schriro v. Landrigan, 550 U.S. 465, 474 (2007). Mr. Cruz-Garcia




                                                    4
      Case 4:17-cv-03621 Document 74 Filed on 07/12/22 in TXSD Page 5 of 7




seeks a hearing to prove his allegations that the jury foreperson read Bible passages to the jury during

their penalty phase deliberations and that these Bible passages constituted an improper external

influence that came to bear on the jury. See ECF No. 73 at 23–28. If proven, these allegations would

establish that the jury was exposed to an external influence in violation of Mr. Cruz-Garcia’s right

to a fair and impartial trial, and that he is therefore entitled to habeas relief. Id.; cf. Oliver v.

Quarterman, 541 F.3d 329, 336, 339 (5th Cir. 2008) (holding that “the Supreme Court has clearly

established a constitutional rule forbidding a jury from being exposed to external influence” and

that the Bible is an external influence).

        Finally, a hearing on Claim One (A) is appropriate because Mr. Cruz-Garcia’s request is both

narrow and already supported by some evidence. An evidentiary hearing on Claim One (A) is

especially appropriate because whether an external influence was brought to bear upon the jury is a

fact-specific question. Oliver, 541 F.3d at 336. Indeed, where a trial court is confronted with

allegations that an external influence was brought to bear on the jury’s deliberations, a trial court

must afford the defendant an opportunity to test those allegations. Barnes v. Joyner, 751 F.3d 229,

242 (4th Cir. 2014) (Supreme Court has “clearly established. . . a defendant’s entitlement to an

evidentiary hearing when the defendant presents a credible allegation” of an external influence on

the jury).

        For the foregoing reasons, Mr. Cruz-Garcia respectfully requests that the Court grant his

Motion for Evidentiary Hearing.




                                                   5
    Case 4:17-cv-03621 Document 74 Filed on 07/12/22 in TXSD Page 6 of 7




Respectfully submitted,



DATE: July 12, 2022                JASON D. HAWKINS
                                   Federal Public Defender

                                   /s/ David C. Currie
                                   Jeremy Schepers (TX 24084578)
                                   Supervisor, Capital Habeas Unit
                                   David C. Currie (TX 24084240)
                                   Naomi Fenwick (TX 24107764)
                                   Assistant Federal Public Defenders

                                   Office of the Federal Public Defender
                                   Northern District of Texas
                                   525 S. Griffin St., Ste. 629
                                   Dallas, TX 75202
                                   214-767-2746
                                   214-767-2886 (fax)
                                   jeremy_schepers@fd.org
                                   david_currie@fd.org
                                   naomi_fenwick@fd.org

                                   Counsel for Petitioner




                                     6
      Case 4:17-cv-03621 Document 74 Filed on 07/12/22 in TXSD Page 7 of 7




                              CERTIFICATE OF CONFERENCE

       David Currie, counsel for Mr. Cruz-Garcia, has conferred with opposing counsel, Cara

Hanna of the Texas State Attorney’s General office, and Ms. Hanna is opposed to the relief sought

in this motion.

                                   /s/ David Currie
                                   Attorney for Petitioner




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Opposed Motion for Evidentiary

Hearing has been served by CM/ECF upon counsel for Respondent on July 12, 2022:


       Cara Hanna
       Postconviction Litigation Division
       Office of the Attorney General
       P.O. Box 12548
       Capitol Station
       Austin, TX 78711

                                   /s/ David C. Currie
                                   Assistant Federal Defender




                                                7
